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                               Schedule 3

                    PI/WD Claimant Recovery Analysis
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TEHUM - ILLUSTRATIVE CHANNELED PI/WD CLAIM RECOVERIES
                                                                                                                                    Nominal Avg. Recoveries per Channeled
                                                                                                                                                 PI/WD Claim
          Est. Claims Count                        TDP Values                               Aggregate Claim Value                   High Recovery (1)          Low Recovery (2)
          High         Low                Base Matrix   Maximum Matrix                At Base Matrix     At Max. Matrix
Tier    Recovery Recovery                   Value             Value                       Value              Value              At Base Matrix Value       At Max. Matrix Value
  1              35            39     $     1,200,000     $       1,597,200       $       42,000,000 $         62,290,800       $              779,073     $              377,988
  2              33            51     $       600,000     $         798,600               19,800,000           40,728,600       $              389,536     $              188,994
  3              18            20     $       200,000     $         266,200                3,600,000            5,324,000       $              129,845     $               62,998
  4              49            58     $        50,000     $          66,550                2,450,000            3,859,900       $               32,461     $               15,750
  5              24            10     $         5,000     $           5,000                  120,000               50,000       $                3,246     $                1,183

Total          159            178                                                 $       67,970,000 $        112,253,300       $              277,534 $                  167,079

Estimated Payment Percentage                                                                                                             64.9%                     23.7%

[1] High Recovery assumes that claims that were dismissed or received a defense verdict and claims that did not name Corizon in pre-petition litigation are not compensable. All
other claims are assumed compensable. High Recovery categorizes the 15 claims with unknown injuries in Tier 5. All claims are valued using Base Matrix Values.
[2] Low Recovery assumes only claims that were dismissed or received a defense verdict are not compensable. All other claims are assumed compensable. Low Recovery
categorizes the 15 claims whose injury is unknown as Tier 2 claims. All claims are valued at the Maximum Matrix Values.
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TEHUM - ILLUSTRATIVE PAYMENT PERCENTAGE ANALYSIS
                                                                                                Nominal
($ in thousands)                                                                      High Recovery   Low Recovery
   1 Employee Retention Credits, gross                                                      12,980          5,272
   2 Causes of Actions Proceeds                                                              1,500              -
   3 Insurance and Third-Party Recoveries                                                   10,000          1,000
   4 Global Settlement, Including Interest                                                  26,719         26,719
   5 Gross Proceeds from Estate Assets                                                $     51,199    $    32,991

   6 Less: Employee Retention Credits Setoff by Priority Federal Tax Claims                 (4,120)        (4,120)
   7 Less: Employee Retention Credits - Synergi Administrative Fee (Dkt 723)                  (574)           (75)
   8 Proceeds Available for PI/WD Trust and GUC Trust                                 $     46,505    $    28,796

  9 Less: Plan Trusts' Professional Fees                                                    (2,000)        (2,000)
 10 Less: Post-Effective Date US Trustee Fees                                                 (377)          (231)
 11 Channeled PI/WD Trust Claims Recoveries                                           $     44,128    $    26,566

 12 Channeled PI/WD Trust Claims                                                            67,970        112,253
 13 Estimated Recovery Percentage for Channeled PI/WD Trust Claims                           64.9%          23.7%
